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  8                     UNITED STATES DISTRICT COURT
  9                    CENTRAL DISTRICT OF CALIFORNIA
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 11    DAVID SCONCE,                              Case No. 2:21-cv-07708-ODW-PD
 12                      Petitioner,
                                                  JUDGMENT
 13         v.
 14    PATRICK COVELLO, Warden,
 15                      Respondent.
 16
 17
            Pursuant to the Order Dismissing Action Without Prejudice and
 18
      Denying Certificate of Appealability,
 19
            IT IS ADJUDGED that the Petition is dismissed without prejudice.
 20
 21
 22   DATED: October 7, 2021

 23
                                       ____________________________________
 24                                    HON. OTIS D. WRIGHT II
 25                                    UNITED STATES DISTRICT JUDGE

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